          21-03009-hcm
El Paso County - County CourtDoc#1-35
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                                                           1                                  Norma Favela Barceleau
                                                                                                                          District Clerk
                                                                                                                       El Paso County
                                                       No. 2020DCV0914                                                 2020DCV0914

             WESTAR INVESTORS GROUP, LLC,    §                                  IN THE COUNTY COURT
             SUHAIL BAWA, and SALEEM MAKANI  §
                                             §
                   Plaintiffs,               §                                  AT LAW NUMBER SIX (6)
                                             §
             v.                              §
                                             §                                  EL PASO COUNTY, TEXAS
             THE GATEWAY VENTURES, LLC, PDG §
             PRESTIGE, INC., MICHAEL DIXSON, §
             SURESH KUMAR, and BANKIM BHATT  §
                                             §
                   Defendants.               §

                                         CERTIFICATE OF WRITTEN DISCOVERY

                    Defendant, Suresh Kumar, certifies that the following documents were served on counsel of record

            for Plaintiffs, Westar Investors Group, LLC, Suhail Bawa, and Saleem Makani, and for Defendants, The

            Gateway Ventures, LLC, and Michael Dixson on July 17, 2020, in accordance with the Rules:

                    1. Documents responsive to Plaintiffs’ Requests for Production, bates stamped KUMAR 973
                       through 2826.

                                                                      GORDON DAVIS JOHNSON & SHANE P.C.

                                                                                      /s/ Harrel L. Davis III
                                                                                      Harrel L. Davis III
                                                                                      State Bar No. 05567560
                                                                                      4695 N. Mesa Street
                                                                                      El Paso, Texas 79912
                                                                                      (915) 545-1133
                                                                                      (915) 545-4433 (Fax)
                                                                                      hdavis@eplawyers.com

                                                                                      Attorney for Defendant

                                        CERTIFICATE OF ELECTRONIC SERVICE

                     I hereby certify that on July 17, 2020, the foregoing document was electronically filed with the
            clerk of the court and a true and correct copy was electronically served on the parties/attorneys of record
            listed through the efile.txcourts.gov system.

                                                                                      /s/ Harrel L. Davis III
                                                                                      Harrel L. Davis III




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             COWD                                                                              {11751.1/HDAV/06759543.1}
